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WESTERMAN BALL EDERER MILLER
  ZUCKER & SHARFSTEIN, LLP
Counsel to Kenneth P. Silverman, Esq.,
Chapter 7 Trustee of National Events Holdings LLC, et al.
1201 RXR Plaza
Uniondale, New York 11556
(516) 622-9200
William C. Heuer, Esq.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
In re:
                                                                        Chapter 7
NATIONAL EVENTS HOLDINGS, LLC, et al.,                                  Case No.: 17-11556 (JLG)
                                                                        (Jointly Administered)
                                             Debtors.
--------------------------------------------------------------------X
KENNETH P. SILVERMAN, ESQ., THE
CHAPTER 7 TRUSTEE OF THE JOINTLY
ADMINISTERED ESTATES OF NATIONAL
EVENTS HOLDINGS, LLC, et al.,                                           Adv. Pro. No.: 19-01258 (JLG)

                                            Plaintiff,
                          -against-

SMILE FOR KIDS, INC. d/b/a S4K Entertainment Group

                                             Defendant.
--------------------------------------------------------------------X

          STIPULATION OF DISMISSAL WITH PREJUDICE PURSUANT TO
        RULE 7041 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

        WHEREAS, on June 4, 2019, plaintiff Kenneth P. Silverman, Esq., the Chapter 7 Trustee

(“Trustee”) of the jointly administered estates of National Events Holdings, LLC, National Event

Company II, LLC, National Event Company III, LLC, National Events Intermediate, LLC, World

Events Group, LLC, National Events of America, Inc., and New World Events Group, Inc.

(“Debtors”), by his attorneys, Westerman Ball Ederer Miller Zucker & Sharfstein LLP,

commenced the above-captioned adversary proceeding (“Adversary Proceeding”) by filing a

complaint (“Complaint”) [Dkt No. 1] against defendant Smile For Kids, Inc. (“Defendant”); and
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       WHEREAS, the parties filed multiple stipulations extending the time for Defendant to

respond to the Complaint; and

       WHEREAS, upon receipt of documentation from Defendant demonstrating the provision

of fair consideration or reasonably equivalent value to the Debtors in exchange for the transfers

received, the Trustee, in his business judgment, no longer believes the best interests of creditors

are served by prosecuting claims against Defendant in the pending Adversary Proceeding.

       NOW, THEREFORE, pursuant to Rule 7041 of the Federal Rules of Bankruptcy

Procedure, the Trustee and Defendant hereby stipulate and agree that the above-captioned

Adversary Proceeding is dismissed with prejudice without costs or fees to either party, as against

Defendant.

       This stipulation may be executed in counterparts and facsimile signatures shall be deemed

originals for purposes of this stipulation.

Dated: Jericho, New York                       WESTERMAN BALL EDERER MILLER
       January 5, 2021                           ZUCKER & SHARFSTEIN, LLP
                                               Attorneys for plaintiff Kenneth P. Silverman, Esq.,
                                               The Chapter 7 Trustee


                                       By:     _/s/ William C. Heuer______________
                                               William C. Heuer
                                               1201 RXR Plaza
                                               Uniondale, New York 11556
                                               (516) 622-9200

Dated: New York, New York                      OVED & OVED LLP
       January 5, 2021                         Attorneys for defendant Smile For Kids, Inc.


                                         By:   _/s/ James Reilly__________________
                                               James Reilly, Esq.
                                               401 Greenwich Street
                                               New York, New York 10013
                                               (212) 226-2376
